EXHIBIT 1
	
                     Services	for	Unrelated	Issues	-	Billings		Include	
                     Time	to	Investigate	State	Court	Case,	OML	and	
                     other	Unrelated	Matters		
                                                                          Single	                          Block	
                     	
                                                                             Task	 	Hourly	      Single	 Billing	        Block	
                     Non-Core	Tasks	(in red)	
    Date	 Staff	                                                          Hours	      Rate		     Task	$	 Hours	       Billing	$	 Notes	
11/13/14	 DME	 Conference	with	V.	concerning	motion	to	                   		         	$225		        	$-				 2.5	         	$563		 		
                 dismiss	and	restating	legal	issues;	Review	more	
                 interrogatory	answers;	Work	on	drafting	
                 answers	to	interrogatories;	Emails	with	Ramos	
                 with	questions;	Telephone	conference	with	
                 Attorney	Tobin	for	Sudbury;	Call	in	to	Attorney	
                 Mercier		
12/19/14	 DME	 Emails	with	client	reviewing	OML	complaint;	               		          	$225		        	$-				   6.0	   	$1,350		 OML	
                 Check	AG	OML	law	complaint	provisions	and		
                 respond	to	client;	Finalize	answers	to	first	and	
                 second	set	of	parents;	interrogatories	and	
                 response	to	second	request	for	productions.	
                 Correspondence	with	hearing	officer	
     1/5/15	 DME	 Email	communications	with	client	concerning	                 0.1	   	$225		   	$22.50		 		               	$-				 OML	
                  AG	OML	investigation	
    1/29/15	 DME	 Review	email	from	parents.	Email	client	                		          	$225		        	$-				   1.2	     	$270		 OML	
                  concerning	same	and	witness	list;	Extensive	
                  email	response	to	client	concerning...OML…;	
                  Emails	with	client	
     2/2/15	 DME	 Review	email	and	attachments	from	parents…;	            		          	$225		        	$-				   4.2	     	$945		 School	
                  Email	communications	with	client	reviewing	                                                                   Cmtee	-	
                  School	Committee's	proposed	letter	to	the	Ws	                                                                 OML	
                  and	press	inquiry.	Investigate	school	physician	                                                              Related	
                  and	issue	concerning	son	at	private	school.	
                  Email	parents	concerning	discovery...;	Begin	
                  Dorey	direct	exam;	Work	on	Mrs.	W.	cross	

     2/3/15	 DME	 Review	mother's	response	to	School	Committee	 		                    	$225		        	$-				   6.2	   	$1,395		 School	
                  chair's	email	communications	with	client	with	                                                                Cmtee	-	
                  client	concerning	alleged	invasion	of	privacy	                                                                OML	
                  issue;	Review	parents'	letter	to	HO…;	Telephone	                                                              Related	
                  conference	with	Ramos;	Begin	work	on	
                  opposition	to	parents'	motion	to	
                  compel..production	
    2/23/15	 DME	 Email	communications	with	client	concerning	     		                 	$225		        	$-				   4.1	     	$923		 School	
                  hearing	dates	and	school	committee	                                                                           Cmtee	-	
                  documents…;Review	e-mail	from	Landmark	                                                                       OML	
                  math	tutor…;Emails	with	Dorey	concerning	                                                                     Related	
                  same;	Research	math	curriculum…;Continue	
                  drafting	and	supplementing	witness	questions…	

    2/26/15	 DME	 Review	correspondence	from	parents	(dated	              		          	$225		        	$-				   6.6	   	$1,485		 		
                  2/25/15)	concerning	request	for	
                  subpoenas...and	draft	response;	Conference	
                  with	Ciampoli	concerning	Ws	and	research	
                  parents.	Email	communications	with	Lynn	
                  Carlson	(out-of-district	coordinator)	concerning	
                  Wallis'	brother.	Locate	brother's	BSEA	hearing	
                  decision	and	review	it	(98	pages).		


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    2/27/15	 DME	 Review	email	communications	and	head	policy	          		          	$225		         	$-				   0.4	           	$90		 Head	
                  forms	and	documents	from	Kramer,	Jason	and	                                                                       Injury	
                  Gilman	from	client;	Call	into	client;	Email	client	                                                               Reg	
                  concerning	submission	of	concussion	protocol;	
                  Email	client	and	Ws	
     3/2/15	 DME	 Email	documents	from	teachers	to	parents	with	             1.0	   	$225		   	$225.00		 		                   	$-				 Head	
                  new	head	injury	protocol	documents		                                                                                Injury	
                                                                                                                                      Reg	
     3/5/15	 DME	 Email	communications	with	client;	Review	             		          	$225		         	$-				   3.2	         	$720		 School	
                  parents'	complaint	about	breach	of	                                                                                 Cmtee	-	
                  confidentiality	and	email	client	concerning		                                                                       OML	
                  school	committee	letter;	Review	OML/public	                                                                         Related	
                  records	requests…and	correspondence	to	
                  Ramos	concerning	same	
    3/18/15	 DME	 Telephone	conference	with	Ramos	concerning	                1.6	   	$225		   	$360.00		 		                   	$-				 Public	
                  correspondence	from	public	records	division.	                                                                       Records	
                  Review	correspondence...;	Draft	response.	
                  Email	Ramos.	
10/29/15	 DME	 Telephone	conference	with	Ramos.	Brief	review	           		          	$225		         	$-				   0.5	         	$113		 State	
               of	state	court	complaint.	Review	11/9/14	and	                                                                       case	
               1/14/15	orders	and	ruling	and	email	Ramos	
               concerning	issues	to	be	addressed	in	BSEA	
               proceeding	and	failure	to	exhaust	
               administrative	remedies	
11/25/15	 DME	 Review	voice	message	from	Attorney	Davis,	                    0.1	   	$225		    	$22.50		                            State	
               return	call	and	leave	message	                                                            		          		             case	
    12/2/15	 DME	 Lengthy	telephone	conference	with	Attorney	                1.1	   	$225		   	$247.50		 		                   	$-				 State	
                  Davis	concerning	case	and	BSEA	hearing;	                                                                            case	
                  Review	motion	to	dismiss	and	memo	in	support	
                  thereof	
     1/6/16	 DME	 To	LS	for	hearing;	reading	transcript;	Emails	and	    		          	$225		         	$-				   7.5	        	$1,688		 State	
                  telephone	conference	with	Attorney	Dowling…;	                                                                     case	
                  Cross-exam	prep	
     1/7/16	 DME	 To	LS	for	hearing;	Email	communications	with	  		                 	$225		         	$-				   7.6	        	$1,710		 State	
                  Attorney	Dowling	concerning	hearing	status;	                                                                      case	
                  Email	communications	with	client…;	Continue	
                  reviewing	transcript	in	prep	for	closing	
                  arguments	
    2/22/16	 DME	 Work	on	supplementing	draft	closing	argument;	 		                 	$225		         	$-				   4.3	         	$968		 State	
                  Email	communications	with	                                                                                       case	
                  Dowling…concerning	hearing	status	and	case	
     4/5/16	 DME	 Emails	with	Dowling	concerning	fiing	a	                    0.5	   	$225		   	$112.50		 		                   	$-				 State	
                  complaint	for	attorneys'	fees.	Email	                                                                               case	
                  communications	with	Attorney	Dowling	
                  concerning	decision	and	forwarding copy	

    4/28/16	 DME	 Check online docket for status of damages case.       		          	$225		         	$-				   2.9	         	$653		 State	
                  Email	communications	with	insurance	defense	                                                                     case	
                  counsel	concerning	status	of	parents'	case;	
                  Review	opposition	in	connection	with	proof	of	
                  improper	purpose;	Calendar argument on
                  motion to dismiss	




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    5/11/16	 DME	 Review	email	from	insurance	defense	counsel	     		              	$225		         	$-				    0.6	          	$135		 State	
                  concerning	hearing	on…and	email	counsel	                                                                          case	
                  copies	of	hearing	transcript	(six	volumes);	
                  Follow-up	with	P.	Rivera	concerning	lack	of	
                  returned	waivers…	
    5/13/16	 DME	 Review	email	from	Mrs.	W.	concerning	service	          0.2	      	$225		    	$45.00		 		                     	$-				 Different	
                  of	process	waivers	and	waivers	from	                                                                                 Case	
                  both…;Email	communications	with	client	(this	
                  involved	a	different	case)		
    8/16/16	 DME	 To	and	from	Middlesex	Superior	Court	in	               4.6	      	$225		    	$1,035		 		                     	$-				 State	
                  Woburnfor	oral	argument	on	LS	motion	to	                                                                             case	
                  dismiss.	Conference	with	Attorney	Dowling;	
                  Email	client	concerning	hearing	

10/14/16	 DME	 Review	email	from	Attorney	Dowling	                       0.6	      	$225		   	$135.00		 		                     	$-				 State	
               concerning	dismissal	of	superior	court	action	                                                                          case	
               and	respond;	Review	court	order…;	Email	
               Ramos	concerning	same;	Review	email	and	
               voicemail	from	Ramos…concerning	dismissal	of	
               superior	court	action	seeking	damages	

11/17/16	 DME	 Review	email	from	Attorney	Dowling…;	Review	              0.5	      	$225		   	$112.50		 		                     	$-				 State	
               motion	for	reconsideration	and	insurance	                                                                               case	
               defense	attorney's	opposition	
11/28/16	 DME	 Review	Ws	motion	for	reconsideration	and	                 0.6	      	$225		   	$135.00		 		                     	$-				 State	
               insurance	defense	counsel's	opposition;	Email	                                                                          case	
               Dowling	
12/13/16	 DME	 Email	communications	with	Attorney	Dowling	               0.3	      	$225		    	$67.50		 		                     	$-				 State	
               concerning	Superior	Court	action...	Email	client	                                                                       case	
               concerning	same	
12/14/16	 DME	 Emails	with	Ramos	concerning	Ws	superior	                 0.1	      	$225		    	$22.50		 		                     	$-				 State	
               court	case	dismissal,	reconsideration	denied,	                                                                          case	
               and	possible	appeal	
    3/10/17	 DME	 Email	Dowling	concerning	appeals	status	               0.1	      	$225		    	$22.50		 		                     	$-				 State	
                                                                                                                                       case	
    3/16/17	 DME	 Search	for	BSEA	decision	concerning	Wallis'	     		              	$225		         	$-				    5.1	        	$1,148		 		
                  brother;	Email	communications	with	client	to	
                  confirm	decision	relates	to	Wallis'	brother;	
                  Investigate	W.	representation	pre-BSEA	case…;	
                  Search	DMS	for	examples	of	Ws	vitriole		

	                   Subtotal	Hours	and	Fees	on	Unrelated	Issues	        11.4	 		              	$2,565		      62.9	 	$14,153		                   				
           	        TOTAL	HOURS	AND	FEES	CONCERNING	
                    UNRELATED	MATTERS		
                                                                              	Total	                   Total	
                    (Individual	Tasks	and	Block	Billings)	
                                                                        74.3	 Hrs		          	$16,718		 $	           		               		
	




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